Case 3:15-cv-00959-MMH-PDB Document 49 Filed 10/04/18 Page 1 of 2 PageID 571



                            United States District Court
                             Middle District of Florida
                               Jacksonville Division


UNITED STATES OF AMERICA EX REL.
PAULA C. LORONA AND REID POTTER,

             Plaintiffs,

v.                                                         NO. 3:15-cv-959-J-34PDB

INFILAW CORPORATION ETC.,

             Defendants.




                     Order Granting Special Admission

      Lauren Purdy, Esquire, has filed unopposed motions under Local Rule 2.02
asking the Court to allow Sherry Mastrostefano Gray, Esquire, and Sean Beller,
Esquire, to specially appear to represent Barbri, Inc., in this case, with Ms. Purdy
serving as local counsel. Docs. 45, 46. Based on the information with the requests and
payment of the required fee, the Court grants the motions, Doc. 45, 46; permits Ms.
Mastrostefano Gray and Mr. Beller to specially appear to represent Barbri, Inc., in
this case, with Ms. Purdy serving as local counsel; and directs Ms. Mastrostefano
Gray and Mr. Beller to expeditiously register with the Court’s electronic case filing
(ECF) system by completing the E-Filer Registration Form.

      Ordered in Jacksonville, Florida, on October 4, 2018.
Case 3:15-cv-00959-MMH-PDB Document 49 Filed 10/04/18 Page 2 of 2 PageID 572



c:    Counsel of Record




                                     2
